Case 2:22-cv-00047-GW-GJS   Document 197-1   Filed 08/03/23   Page 1 of 4 Page ID
                                   #:4532




                        EXHIBIT A
               Case 2:22-cv-00047-GW-GJS      Document 197-1        Filed 08/03/23    Page 2 of 4 Page ID
                                                     #:4533
Emily Lomeli




From:                    Robin.Gushman@lw.com
Sent:                    Monday, July 31, 2023 5:36 PM
To:                      Will Sears; Tim.O'Mara@LW.com; kirsten.ferguson@lw.com; Sadik.Huseny@lw.com;
                         Alicia.Jovais@lw.com
Cc:                      Kevin Teruya; Adam Wolfson; wdp@kellerpostman.com; Noah.Heinz@kellerpostman.com;
                         albert.pak@kellerpostman.com
Subject:                 RE: Heckman


                                       [EXTERNAL EMAIL from robin.gushman@lw.com]




Will,



As you know from our prior communications and your long discovery in this case, since our motion to compel
was filed, Latham has been in touch with New Era’s counsel, just like Quinn has—I believe you have had a
number of separate and independent communications with New Era’s counsel. Our communications with New
Era’s counsel of course have continued through our defense of New Era’s Rules in the briefing; it would be
rather odd if otherwise, given the interest at issue. To the extent you are now claiming surprise or impropriety
that, in connection with your attacking New Era and its rules as unconscionable, New Era has also sought to
defend those rules in submissions with the Court, and counsel for Live Nation and New Era have engaged in
discussions regarding the same, we don’t think that’s credible. Neither Latham’s nor Quinn’s separate
communications with New Era’s counsel are improper “ex parte” communications. If you plan to argue
otherwise, we will respond as appropriate.



Thanks,

Robin



Robin L. Gushman




LATHAM & WATKINS LLP

505 Montgomery Street | Suite 2000 | San Francisco, CA 94111-6538

D: +1.415.646.7830




                                                            1
        Case 2:22-cv-00047-GW-GJS     Document 197-1 Filed 08/03/23 Page 3 of 4 Page ID
                                               #:4534
From: Will Sears <willsears@quinnemanuel.com>
Sent: Friday, July 28, 2023 4:55 PM
To: O'Mara, Tim (Bay Area) <Tim.O'Mara@LW.com>; Ferguson, Kirsten (Bay Area)
<kirsten.ferguson@lw.com>; Huseny, Sadik (SF-ATX) <Sadik.Huseny@lw.com>; Gushman, Robin (Bay
Area) <Robin.Gushman@lw.com>; Jovais, Alicia (Bay Area) <Alicia.Jovais@lw.com>
Cc: Kevin Teruya <kevinteruya@quinnemanuel.com>; Adam Wolfson <adamwolfson@quinnemanuel.com>;
Warren Postman <wdp@kellerpostman.com>; Noah Heinz <Noah.Heinz@kellerpostman.com>; Albert Pak
<albert.pak@kellerpostman.com>
Subject: Heckman



Counsel,



New Era has now twice filed declarations in court just before briefs were due in an apparent effort to support
arguments made by Defendants. We think any ex parte communications between New Era and Defendants
would be relevant to the pending motion. After Defendants filed their motion to compel in this case, has anyone
at Latham or anyone employed by Live Nation or Ticketmaster communicated with New Era or their counsel
regarding this case? If so, please tell us the nature of those communications.



Best,



Will Sears
Partner
Quinn Emanuel Urquhart & Sullivan, LLP
865 S. Figueroa Street, 10th Floor
Los Angeles, CA 90017
213-443-3282 Direct


339-223-0526 Cell
213-443-3000 Main Office Number
213-443-3100 Fax
willsears@quinnemanuel.com
www.quinnemanuel.com


NOTICE: The information contained in this e-mail message is intended only for the personal and confidential use of the recipient(s) named above. This message
may be an attorney-client communication and/or work product and as such is privileged and confidential. If the reader of this message is not the intended
recipient or agent responsible for delivering it to the intended recipient, you are hereby notified that you have received this document in error and that any
review, dissemination, distribution, or copying of this message is strictly prohibited. If you have received this communication in error, please notify us immediately
by e-mail, and delete the original message.




_________________________________

This email may contain material that is confidential, privileged and/or attorney work product for the sole use of
the intended recipient. Any review, disclosure, reliance or distribution by others or forwarding without express
permission is strictly prohibited. If you are not the intended recipient, please contact the sender and delete all
copies including any attachments.

                                                                                  2
     Case 2:22-cv-00047-GW-GJS             Document 197-1 Filed 08/03/23 Page 4 of 4 Page ID
                                                     #:4535
Latham & Watkins LLP or any of its affiliates may monitor electronic communications sent or received by our
networks in order to protect our business and verify compliance with our policies and relevant legal
requirements. Any personal information contained or referred to within this electronic communication will be
processed in accordance with the firm's privacy notices and Global Privacy Standards available at www.lw.com.




                                                      3
